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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION


                                                          Action No: 3:17CV00072
  ELIZABETH SINES, ET AL                                  Date: 6/25/20
                                                          Judge: Joel C. Hoppe, U SMJ
  vs.
                                                          Court Reporter: Karen Dotson,
  JASONKESSLER, ET AL                                     AT&T Conference Manager
                                                          Deputy Clerk: Karen Dotson



  Plaintiff Attorney(s)                          Defendant Attorney(s)
  Michael Bloch                                  Denise Lunsford
  Joshua Siegel                                  John Hill
                                                 John Zwerling



                                        LIST OF WITNESSES

  PLAINTIFF/GOVERNMENT:                          DEFENDANT:
  1.                                             1.



  PROCEEDINGS:

  Telephonic Motion Hearing – Motion to Reconsider #770

  Parties argues motion to reconsider
  Discuss state court order
  Order to follow




  Time in court: 1:14-2:38=1 hour 24 minutes
